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                   Thomas-Jensen
                    Affirmation



                     Exhibit # 101
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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND



  STATE OF NEW YORK; et al.,

                  Plaintiffs,

          v.                                                C.A. No. 1:25-cv-00039-JJM-PAS

  DONALD TRUMP, in his official capacity as
  President of the United States; et al.,

                  Defendants.



                                 DECLARATION OF TOM RIEL
        I, Tom Riel, declare as follows:

         1.     I am the Director of Operations at Oregon’s Higher Education Coordinating

   Commission (“HECC”). I have been in this position for three years. Prior to serving as

   HECC’s Director of Operations, I served as HECC’s Procurement Manager. I make this

   declaration based on personal knowledge and records maintained by HECC in the ordinary

   course of its business. I would testify to the following facts if called as a witness.

          2.    HECC is a state commission and administrative agency whose mission is to

   improve equitable access to and success in higher education and workforce training for

   Oregonians statewide. For HECC, higher education includes the full range of postsecondary

   education and training beyond high school, from apprenticeships and career certificates to two-

   and four-year degrees and doctorates. HECC coordinates with a wide network of organizations

   and groups, including community colleges, universities, trade schools, workforce and business

   partners, training organizations, community-based organizations, secondary schools, and state

   policymakers. HECC administers about $4 billion annually in funding that supports its efforts

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   to (1) establish methodologies for distributing public funding to support community colleges,

   public universities, workforce boards, and students; (2) coordinate postsecondary degrees and

   programs to develop academic pathways that meet the needs of students and Oregon businesses

   across the state; (3) administer financial aid, including scholarships, workforce training, and

   other programming; (4) provide strategic guidance to state leaders on Oregon higher education

   policy, planning, and funding; and (5) evaluate and report on the success of higher education

   and training efforts in attaining state higher education goals.

         3.     The HECC Office of Operations supports HECC’s operations in budgeting,

   procurement, payroll, accounting, and information technology. Part of procurement is securing

   and managing grants and contracts, including federal grants. HECC currently administers

   multiple federal grants from the U.S. Department of Labor, including several under Title I of

   the Workforce Innovation and Opportunity Act (“WIOA”), including a youth grant, adult

   grant, dislocated worker grant, and Quality Jobs, Equity, Strategy and Training (QUEST)

   grant, as well as a State Apprenticeship Expansion, Equity and Innovation grant.

         4.     The WIOA Title I grants support the coordination of Oregon’s public workforce

   system and the administration of career and training services to youths, adults, and dislocated

   workers in Oregon. Most of the funds HECC receives under these grants are subgranted to

   Oregon’s nine local workforce development boards (LWDBs) across Oregon to develop and

   coordinate a regional approach to workforce development, and to oversee the provision of

   career and training services in their region. LWDBs are partnerships comprising employers,

   education/training providers, labor, community-based organizations, government, and others.

   These grants are paid by the federal government (Department of Labor) periodically on a

   reimbursement model. Contractors (local workforce development boards) submit draw requests



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   to the HECC for work performed under the grants, and then HECC submits a request to draw

   on the federally granted funds. For the life of these grants, the federal government has routinely

   released the requested grant funds within a day of HECC’s draw requests. That routine practice

   changed last week.

         5.     HECC’s State Apprenticeship Expansion, Equity and Innovation grant supports

   diversity, equity, and inclusion efforts in apprenticeship programs and the development of pre-

   apprenticeships and registered apprenticeships in non-traditional occupations, including those

   hit hardest by the pandemic. The State Apprenticeship Expansion, Equity and Innovation grant

   is paid by the federal government (Department of Labor) periodically on a reimbursement

   model. Contractors perform work required under the grants, after which they invoice HECC on

   a monthly basis for the work they performed, and then HECC submits a request to draw on the

   granted funds. The federal government has routinely released the requested grant funds within

   a day of HECC’s draw requests. That routine practice changed last week

         6.     I became aware last week that the Acting Director of the Office and Management

   and Budget in the Executive Office of the President, Matthew J. Vaeth, issued a memorandum

   on January 27, 2025. That memorandum carried the subject line “Temporary Pause of Agency

   Grant, Loan, and Other Financial Assistance Programs” (“OMB Memo”).

         7.     HECC submitted multiple draw requests last week that went unanswered and are

   still unanswered as of today the 4th of February. On Wednesday, January 29, HECC submitted

   a draw request to the Department of Labor under multiple grants for $2,883,947.59:




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 and under grant DW000012QL0 for $151,829.77, but HECC received no reimbursement. On

 Thursday, January 30, HECC submitted a draw request to the Department of Labor under grant

 DW000012QL0 for $38,190.09, but it received no payment.

        8.     Under normal circumstances, HECC would have been reimbursed already for all

 the amounts requested. As of close of business on Tuesday, February 4, no funds were received

 for the above-mentioned grants. HECC has other existing federal grants as well, some issued by

 the Department of Labor and others by the Department of Education, but reimbursement under

 those grants was timely paid.

        9.     The consequence to Oregon of HECC not receiving payment under its federal

 grants is that HECC will not be able to support the important workforce training and higher

 educational support work that it performs across Oregon. Not only will the contractors who are

 performing the work under the grant not be compensated for work they already performed, but




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 also their work will be discontinued and the Oregonians that they serve across the state will not

 receive the support they need to get job training and education to get back to work.

        10.     HECC’s inability to continue its important work under its existing federal grants,

 even over the short term, will have broad negative consequences across the state that cannot be

 repaired. Without access to these grant funds, HECC and its subgrantees would need to cease

 the majority of our essential job training and business services, impacting job-seekers’ ability to

 find quality employment and employers’ ability to find the qualified workers they need to

 contribute to Oregon’s economy.

       I declare under penalty of perjury that the foregoing is true and correct.

                Executed on February 4, 2025, at Salem, Oregon.




                                               _____________________________________
                                               TOM RIEL




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